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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF ARKANSAS
                                     WESTERN DIVISION

DONNA CAVE, et al.                                                                           PLAINTIFFS

ANNE ORSI, et al., and                                                    CONSOLIDATED PLAINTIFFS

THE SATANIC TEMPLE et al.                                                    INTERVENOR PLAINTIFFS
                                            CASE NUMBER:
               V.
                                             4:18-CV-00342

JOHN THURSTON, as Arkansas Secretary of State, in his official                              DEFENDANT
capacity


             TST’S MOTION FOR LEAVE TO AMEND COMPLAINT IN INTERVENTION


   COME NOW TST Plaintiffs, by and through counsel of record, on motion for leave to amend the

complaint in intervention pursuant to FRCP 15.

   1. On May 13, the Court entered an amended proposed final scheduling order (Doc. 63).

   2. The order issues a July 10 cutoff to seek court leave to amend pleadings. (Id. at p. 3).

   3. Intervenor-Plaintiffs desire to amend their complaint in intervention to withdraw their claim

       for monetary damages and withdraw their jury demand.

   4. On June 3, 2019, TST Plaintiffs advised all other parties of record of the desire to amend their

       complaint during a Rule 26(f) conference call. No parties announced an objection.

   5. If granted, all relief requested by all plaintiffs would be limited to injunctive relief, declaratory

       relief, and costs of litigation. See Cave complaint, Doc. 1 at pp. 30-31, Orsi complaint at p.

       18 and attached at p. 9. Thus, if this motion is granted, no party would be entitled to a jury

       trial. See generally FRCP 38 and Northgate Homes v. City of Dayton, 126 F.3d 1095, 1098-



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        99 (8th Cir. 1997) (finding no right to a jury trial where the only claims for relief are for

        declaratory relief and injunctive relief).

     6. The form of the proposed second amended complaint in intervention is attached for the

        Court’s review.

     WHEREFORE TST Plaintiffs pray this Court grant leave to file the proposed second amended

complaint in intervention and remove this case from the Court’s jury trial docket and, instead, set this

case for bench trial.

           Respectfully submitted on June 3, 2019,
           On behalf of TST Plaintiffs

By         /s/ Matthew A. Kezhaya                      and      /s/ Stuart P. de Haan
           Matthew A. Kezhaya, ABA # 2014161                   Stuart P. de Haan, AZ Bar No. 026664
           Attorney for TST Plaintiffs                         Attorney for TST Plaintiffs
                                                               de Haan Law Firm, PLLC
           1202 NE McClain Rd                                  101 E. Pennington, Suite 201
           Bentonville, AR 72712                               Tucson, Arizona 85701
phone      (479) 431-6112                                      (520) 358-4089
fax        (479) 282-2892                                      (520) 628-4275
email      matt@kezhaya.law                                    stu.dehaan@gmail.com

                               CERTIFICATE AND NOTICE OF SERVICE

    NOTICE IS GIVEN that I, Matthew A. Kezhaya, submitted for filing the foregoing document by
uploading it to the Court’s ECF system. The ECF system sends automated notice to all counsel of
record.




 Matthew A. Kezhaya, ABA# 2014161




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